Case 2:16-cv-00641-JMA-AKT
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                                   6/8/2020
  United States Magistrate Judge
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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT COURT OF NEW YORK
   Jimmy L. Adkins, Kerem Bay, Lana Bongiovi, Clement Campbell,
   Angelo Carpola, Alexander Cioffi, Patrick H. Crain, David Cronk,
   Nancy F. Debe, Dennis Deluci, Charles J. Engel, Matthew Farrell,
   Benny Failla, Robert J. Giani, John R. Lackenbauer, Jean-Pamell
   Louis, William J. Maher, Michael G. McDowell, John Rossi,        Case No. 16-CV-00641
   William R. Shannon, Fred H. Smith, Gary E. Sobek, Damian
   Sobers, Carmela Szymanski, Anthony Tanza and Cynthia Torres,     (JMA)(AKT)

                                                     Plaintiffs,

                          -against-

   Garda CL Atlantic, Inc.

                                                    Defendant.


                         CONSENT TO SUBSTITUTION OF COUNSEL

            I HEREBY CONSENT to the substitution of the Steven J. Moser (The Moser Law Firm,

  PC) in place of Ann Ball (Law Offices of Ann Ball, PC) as my attorney in the above referenced

  matter.


  Dated: April 2.1 ,2020

                                                     Clement Campbell,
